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                                  EASTER.~     DISTRICT OF PEN:'.'lSYLVANIA

                                                            )
         MICHAELE. VACEK, JR., derivatively on              )
         behalf of WALTER INVESTMENT                        )
         MANAGEMENT CORP.,                                  )
                                                            )
                                Plaintiff,                  )
                v.                                          )   Case 2: l 7-cv-02820-JCJ
                                                            )
         GEORGE M. AWAD, DANIEL G.                          )
         BELTZMAN, MICHAEL M. BHASKARAN,                    )
         NEAL P. GOLDMAN, WILLIAM J.                        )
         MEURER, ALY ARO G. de MOLINA,
         VADIM PERELMAN, and ANTHONY N.
                                                            )
                                                            )                      FILED
         RENZI,                                             )                      FEB 01 2019
                                                            )
                                Defendants,                 )                   l<t\TE BARKMAN. Cle1k
                                                                              8g             ~amt
                and                                         )
                                                            )
         WALTER INVESTMENT MANAGEMENT                       )
         CORP.,                                             )
                       Nominal Defendant.                   )

                                [PROPOSt:D} JUDGMENT A:'.'lD ORDER
                            APPROVING DERIVATIVE ACTION SETTLEMENT

                WHEREAS, a derivative action is pending in this Court entitled Vacek v. Awad, et al,

         Case :'.';o. 2: l 7-CV-02820-JCJ (the "Action");

                WHEREAS, (a) Plaintiff Michael E. Vacek, Jr. ("Plaintiff'), derivatively on behalf of

         Walter Investment Management Corp., now known as Ditech Holding Corporation ("WIMC"),

         (b) Nominal Defendant WIMC, and (c) Defendants George M. Awad, Daniel G. Beltzman,

         Michael M. Bhaskaran, Neal P. Goldman, William J. Meurer, Alvaro G. de Molina, Vadim

         Perelman, and Anthony N. Renzi ("Defendants," and together with Plaintiff and WIMC, the

         "Parties") have entered into a Stipulation and Agreement of Settlement dated October 17, 2018
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         (the "Stipulation") that provides for a complete dismissal of the Action on the terms and

         conditions set forth in the Stipulation, subject to approval of this Court (the "Settlement");

                WHEREAS, by Order dated December 3, 2018 (the "Preliminary Approval Order"), this

         Court, among other things, (a) preliminarily approved the Settlement; (b) ordered that notice of

         the Settlement be provided to stockholders of WIMC; (c) provided stockholders of WIMC the

         opportunity to object to the Settlement; and (d) scheduled a hearing (the "Settlement Hearing")

         for the following purposes:

                        (a)      to determine whether the Settlement on the terms and conditions stated in

         the Stipulation is fair, reasonable, and adequate to WI'.\.1C, and should be approved by the Court;

                        (b)     to determine whether a Judgment in the form attached as Exhibit C to the

         Stipulation (the "Judgment"), including the releases provided for in the Judgment, should be

         entered;

                        (c)     to hear and rule on any objections to the Settlement;

                        (d)     to determine whether the award of Attorneys' Fees and Litigation

         Expenses (defined in the Stipulation) to Plaintiff's Counsel provided for in the Stipulation should

         be approved by the Court; and

                        (e)     to consider any other matters as the Court deems appropriate.

                WHEREAS, the Preliminary Approval Order ordered that, within ten (10) business days

         of the date of entry of the Preliminary Approval Order, WIMC shall (i) post a copy of the

         Stipulation, the Preliminary Approval Order, and the Notice of Proposed Settlement of

         Derivative Action and Motion for an Award of Attorneys' Fees and Litigation Expenses (the

         "Notice"), substantially in the form attached to the Stipulation as Exhibit B, on WIMC's website;

         (ii) cause a Current Report on Form 8-K to be filed with the Securities and Exchange

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            Commission that attaches the ;-..;otice and provides a link to the Stipulation, the Preliminary

            Approval Order and the Notice posted on WI:'.VtC's website; and (iii) publish the       ~otice   once in

            Investor's Business Daily and transmit it once over PR Newswire;

                    WHEREAS, the Notice advised stockholders of WIMC of the date, time, place, and
                                                                                    ~

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            purposes of the Settlement Hearing and that any objections to the Settlement were required to be

            filed with the Court no later than January I 0, 2019;

                    WHEREAS, the Court conducted the Settlement Hearing on January 31, 2019;

                    WHEREAS, the Court, having reviewed and considered the Stipulation, all arguments

            and written submissions regarding the Settlement, and the record in the Action, and good cause

            appearing therefor;

                    WHEREAS, the Parties have consented to the entry of this Judgment; and

                    WHEREAS, unless otherwise defined herein, all terms with initial capitalization have the

            same meanings as they have in the Stipulation;

                    NOW THEREFORE, after due deliberation, IT IS HEREBY ORDERED, ADJCDGED,

            AND DECREED as follows:

                    1.     Jurisdiction - The Court has jurisdiction over the subject matter of the Action,

            and all matters relating to the Settlement, as well as personal jurisdiction over the Parties.

                   2.      Incorporation of Settlement Documents - This Judgment incorporates and

            makes a part hereof: (a) the Stipulation filed with the Court on October 23, 2018 as part of

            Docket No. 45-1; and (b) the Notice filed with the Court on January/        S", 2019.
                   3.      Notice - The Court finds that the notice to stockholders of WIMC provided for in

            the Preliminary Approval Order: (a) was implemented in accordance with the Preliminary

            Approval Order, and (b) (i) constitutes the best notice practicable under the circumstances; (ii)

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        was reasonably calculated, under the circumstances, to inform stockholders of WI:'.ViC

        concerning the pendency of the Action, the Settlement, the terms and conditions of the

        Settlement, including this Judgment and the releases provided for in this Judgment, the request

        by Plaintiffs Counsel for an award of Attorneys' Fees and Litigation Expenses, the right of

        WIMC stockholders to object to the Settlement, including the award of Attorneys' Fees and

        Litigation Expenses to Plaintiffs Counsel, and any other aspect of the Settlement, and the right

        of WIMC stockholders to appear at the Settlement Hearing; (iii) constitutes due, adequate, and

        sufficient notice to all persons and entities entitled to receive notice of the Settlement; and

        (iv) satisfies the requirements of Rule 23.l of the Federal Rules of Civil Procedure and the

        United States Constitution (including the Due Process Clause), and all other applicable laws and

        rules.

                 4.      [Objections .:rhe Cottrt has       ~· objeetions to the Settlement,
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        0£1b.e objections is.iyith/witho!!1 merit, aHd each objection is hereby sustamed/overruled.]

                 5.      Final Settlement Approval and Dismissal of Claims - In light of the benefits to

        WIMC, the complexity, expense, and possible duration of further litigation, the risks of

        establishing liability and damages and the costs of continued litigation, the Court, pursuant to

        and in accordance with Rule 23. l of the Federal Rules of Civil Procedure, hereby fully and

        finally approves the Settlement as set forth in the Stipulation in all respects, including, without

        limitation, the releases provided for in the Settlement and in this Judgment, and the dismissal

        with prejudice of the claims asserted against Defendants and Defendants' Releasees (defined

        below), and finds that the Settlement is in all respects fair, reasonable, and adequate and in the

        best interests of WI:'.ViC. The Court further finds the Settlement as set forth in the Stipulation is

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          the result of arm's-length negotiations between experienced counsel representing the interests of

          Plaintiff, Defendants, and WIYIC. The Parties are directed to implement, perform and

          consummate the Settlement in accordance with the terms and provisions in the Stipulation.

                  6.      The Action and all of the claims asserted against Defendants in the Action are

          hereby dismissed in their entirety with prejudice. The Parties shall bear their own costs and

          expenses except as otherwise provided in the Stipulation.

                  7.      Binding Effect of Judgment - The terms of the Settlement, as stated in the

          Stipulation, and of this Judgment, including the releases provided for in this Judgment, shall be

          forever binding on Defendants, Plaintiff and WIMC.

                  8.      Releases - The releases set forth in paragraphs 4 and 5 of the Stipulation, together

          with the definitions contained in Paragraph 1 of the Stipulation, are expressly incorporated herein

          in all respects. The Releases are effective as of the Effective Date.

                  9.      As used in this Judgment and the releases in Paragraphs 4 and 5 of the Stipulation

          and below, the following terms shall have the meanings set forth below.

                          (a)     "Defendants' Counsel" means Dechert, LLP.

                          (b)     "Defendants' Releasees" means Defendants, Defendants' Counsel, and

          each of their present and former predecessors, successors, affiliates, employees, general partners,

          attorneys, accountants, auditors, bankers, advisors, agents, assigns, assignees, indemnifiers,

          insurers, reinsurers, heirs, estates, executors, trustees, administrators, or trusts, in their capacities

          as such.

                          (c)     "Effective Date" means the first business day after all of the conditions

          specified in~ 15 of the Stipulation have occurred or been waived.



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      '                   (d)     "Excluded Claims" means (i) claims asserted in the class action pending in

          the United States District Court for the Eastern District of Pennsylvania styled Elkin v. Walter

          Investment Management Corp., et al., Class Action :So. 2: l 7-cv-02025-JCJ, (ii) claims by

          Defendants or other Defendants' Releasees or WIMC or other WIMCs Releasees against his,

          her, its, or their insurers, and (iii) claims relating to the enforcement of this Stipulation and the

          Settlement.

                          (e)     "Person" means any individual, corporation, professional corporation,

          limited liability company, partnership, limited partnership, limited liability partnership,

          association, joint stock company, estate, legal representative, trust, unincorporated association,

          government or any political subdivision or agency thereof, or any other business or legal entity.

                          (f)     "Plaintiffs Counsel" means the Donovan Litigation Group, LLC and

          Gainey McKenna & Egleston.

                          (g)     "Plaintiffs Releasees'' means Plaintiff, Plaintiffs Counsel, and their

          respective present and former predecessors, successors, affiliates, employees, general partners,

          managers, attorneys, accountants, auditors, bankers, advisors, agents, assigns, assignees,

          indernnifiers, insurers, reinsurers, heirs, estates, executors, trustees, administrators, or trusts, in

          their capacities as such.

                          (h)     "Released Claims" means Released Defendants' Claims, Released WIMC

          Claims, and Released Plaintiffs Claims.

                          (i)     "Released Defendants' Claims" means all claims and causes of action of

          every nature and description, whether known claims or Cnknown Claims, whether arising under

          federal, state, common or foreign law, that arise out of or relate in any way to the institution,



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prosecution, or settlement of the claims asserted in the Action. Released Defendants' Claims do

not include the Excluded Claims.

               (j)     "Released Plaintiffs Claims" means all claims and causes of action of

every nature and description, whether known claims or Cnknown Claims, whether arising under

federal, state, common or foreign law, that Plaintiff has asserted in the Action or could have

asserted in the Action or other action in any forum arising out of or based on the allegations,

transactions, facts, claims, matters or occurrences involved, set forth, or referred to in the Action,

concerning, among other things, the origination, underwriting, and appraisal of mortgage

products, claims by, and settlements with, government agencies concerning the origination,

underwriting, and appraisal of mortgage products, and accounting and financial reporting related

to default servicing activities, including, but not limited to, errors in financial statements and

weaknesses in internal controls over financial reporting with respect to foreclosure tax liens,

foreclosure related advances, processing and oversight of loans in bankruptcy status, adjustments

of reserves, and valuation allowances on deferred tax asset balances. Released Plaintiffs Claims

do not include the Excluded Claims.

               (k)     "Released WIMC Claims" means all claims and causes of action of every

nature and description, whether known claims or Unknown Claims, whether arising under

federal, state, common or foreign law, that arise out of or relate in any way to the subject matter

of the Released Plaintiffs Claims and the Released Defendants' claims. Released WIMC Claims

do not include the Excluded Claims.

               (1)     "Releasee(s)" means Plaintiffs Releasees, Defendants' Releasees, and

WIMC's Releasees.



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                         (m)      "'Cnknown Claims" means any Released Claims that Plaintiff, WIMC, or

         Defendants or any of the Defendants does not know or suspect to exist in his or its favor at the

         time of the release of the Released Claims, which, if known by him or it, might have affected his

         or its decision(s) with respect to the Settlement. With respect to any and all Released Claims, the

         Parties stipulate and agree that, upon the Effective Date, Plaintiff, WIMC, and Defendants shall

         be deemed to have waived, and by operation of the Judgment shall have, to the fullest extent

         permitted by law, waived and relinquished any and all provisions, rights, and benefits conferred

         by any law of any state or territory of the United States, or principle of common law or foreign

         law, which is similar, comparable, or equivalent to California Civil Code § 1542, which provides:

                 A general release does not extend to claims which the creditor does not know or
                 suspect to exist in his or her favor at the time of executing the release, which if
                 known by him or her must have materially affected his or her settlement with the
                 debtor.

         Plaintiff,   WI~C,    and Defendants acknowledge that Plaintiff, WIMC, or Defendants may

         hereafter discover facts, legal theories, or authorities in addition to or different from those which

         he or they now knows or believes to be true with respect to the subject matter of the Released

         Claims, but that Plaintiff, WIMC, and Defendants intend to, and upon the Effective Date, by

         operation of the Judgment, shall be deemed to have, and shall have, settled and released, fully,

         finally, and forever, the Released Claims, known or unknown, suspected or unsuspected,

         contingent or non-contingent, whether or not concealed or hidden, which have existed, now

         exist, or will exist, upon any theory of law or equity, including, but not limited to, conduct which

         is negligent, reckless, intentional, with or without malice, or a breach of any duty, law, or rule,

         without regard to the subsequent discovery or existence of such different or additional facts,

         legal theories, or authorities. Plaintiff, WIMC, and Defendants acknowledge that the inclusion of

         "'Unknown Claims" in Released Plaintiffs Claims, Released Defendants' Claims, and Released
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WIMC Claims was separately bargained for and was a material and essential element of this

Stipulation and the Settlement.

                (n)    "WIMC's Counsel" means Hangley Aronchick Segal Pudlin & Schiller

and Weil, Gotshal & :'.Vianges LLP.

                (o)    '"WIMC's Releasees" means WI:'.ViC, WIMC's Counsel, and their

respective present and former predecessors, successors, affiliates, employees, general partners,

managers, attorneys, accountants, auditors, bankers, advisors, agents, assigns, assignees,

indemnifiers, insurers, reinsurers, heirs, estates, executors, trustees, administrators, or trusts, in

their capacities as such.

        10.     This Court orders that:

                (a)     Without further action by anyone, upon the Effective Date, Plaintiff,

derivatively on behalf of WIMC, and Plaintiffs and WIMC's respective heirs, executors,

administrators, predecessors, successors, and assigns in their capacities as such, shall be deemed

to have, and by operation of law and of the Judgment shall have, fully, finally and forever

compromised, settled, released, dismissed, resolved, relinquished, waived and discharged the

Released Plaintiffs Claims against Defendants' Releasees and WIMC's Releasees, and shall

forever be barred and enjoined from directly or indirectly prosecuting, maintaining, intervening

in, or participating in, individually, derivatively, as a class member or otherwise, the Released

Plaintiffs Claims against Defendants' Releasees and WIMC's Releasees. This release shall not

apply to the Excluded Claims.

                (b)     Without further action by anyone, upon the Effective Date, Defendants

and WIMC, on behalf of themselves and their respective heirs, executors, administrators,

predecessors, successors, and assigns in their capacities as such, shall be deemed to have, and by

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      operation of law and of the Judgment shall have, fully, finally and forever compromised, settled,

      released, dismissed, resolved, relinquished, waived and discharged the Released Defendants'

      Claims and the Released WIMC Claims against Plaintiff and Plaintiffs Releasees, and shall

      forever be barred and enjoined from directly or indirectly prosecuting, maintaining, intervening

      in, or participating in, individually, derivatively, as a class member or otherwise, the Released

      Defendants' Claims and the Released WIMC Claims against any of the Plaintiffs Releasees.

      This release shall not apply to the Excluded Claims.

                     (c)     Notwithstanding paragraphs IO(a) and (b) above, nothing in this Judgment

      shall bar any action by any of the Parties to enforce or effectuate the terms of the Stipulation, the

      Settlement, or this Judgment.

              11.    L'se of this Judgment        This Judgment, the Stipulation, and the Settlement,

      whether or not the Effective Date occurs, and any discussions, negotiations, arguments made

      during negotiations, acts performed, communications, drafts, or agreements relating to this

      Judgment, the Stipulation, the Settlement, and any matter in connection with such discussions,

      negotiations, arguments made during negotiations, acts performed, communications, drafts,

      documents, or agreements, shall not be offered or received against or to the prejudice of Plaintiff,

      Defendants, Wl:'.\llC or any Releasee for any purpose other than in an action to enforce the terms

      of this Judgment, the Stipulation, and the Settlement, and in particular:

                     (a)     Do not constitute, and shall not be described as, construed as, or otherwise

      offered or received against any of the Defendants, WIMC or any of Defendants' Releasees or

      WIMC's Releasees as evidence of (or deemed to be evidence of) any admission, concession, or

      presumption by any of the Defendants, Defendants' Releasees, WIMC, or WIMC's Releasees

      with respect to (i) the truth of any allegation or claim in the l}ction or in any litigation or

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              proceeding in any other forum; (ii) the deficiency of any defense that has been or could have

              been asserted in the Action or in any other litigation or proceeding in any other forum; (iii) any

              liability, damages, negligence, fault, or other wrongdoing of any kind by any of Defendants,

              WIMC or any of Defendants' Releasees or       WI~C's    Releasees; or (iv) referred to for any other

              reason against or to the prejudice of any of the Defendants, Defendants' Releasees, WIMC, or

              WIMC's Releasees, in this or any other civil, criminal, or administrative action or proceeding.

                             (b)     Do not constitute, and shall not be described as, 'construed as, or otherwise

              offered or received against Plaintiff or Plaintiffs Releasees as evidence of (or be deemed

              evidence of) any admission, concession, or presumption by Plaintiff or Plaintiffs Releasees of

              any infirmity in any claims in the Action or in any litigation or proceeding in any other forum or

              in any way referred to for any other reason against or to the prejudice of Plaintiff and Plaintiffs

              Releasees in this or any other civil, criminal, or administrative action or proceeding.

                             (c)     Do not constitute, and shall not be described as, construed as, or otherwise

              offered or received against Plaintiff, Defendants, WIMC or Releasees as evidence of (or deemed

              to be evidence of) any admission, concession, or presumption that the Settlement consideration

              represents the amount that could be or would have been recovered after trial and appeals in the

              Action or that the amount that could be or would have been recovered after trial and appeals in

              the Action would or would not have exceeded the Settlement consideration.

                     12.     Retention of Jurisdiction - Without affecting the finality of this Judgment in any

              way, this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of

              the administration, interpretation, implementation and enforcement of the Settlement; (b) any

              award to Plaintiffs Counsel of Attorneys' Fees and Litigation Expenses; and (c) all other related

              matters.

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            13.    Attorneys' Fees and Litigation Expenses - Plaintiffs Counsel in the Action are
                                                                                                       t1d
    hereby awarded Attorneys' Fees and Litigation Expenses in the amount of $ ~S7, .S-00.-:---
                                                                                          /
    The Court finds that this amount is fair and reasonable under the facts and circumstances of this

    Action. Payment of such award of Attorneys' Fees and Litigation Expenses shall be made in

    accordance with the provisions of the Stipulation. Any appeal of this portion of the Judgment

    shall in no way disturb, affect or delay the finality of this Judgment or the Effective Date of the

    Settlement and shall be considered as a separate part of this Judgment as provided for in the

    Stipulation.

            14.    Modification of the Agreement of Settlement · Without further approval from

    the Court, Plaintiff, Defendants, and WIMC are hereby authorized to agree to and adopt

    amendments or modifications of the Settlement as stated in the Stipulation that are not materially

    inconsistent with this Judgment. Without further order of the Court, Plaintiff, Defendants, and

    WIMC may agree to reasonable extensions of time to carry out any provisions of the Settlement.

            15.    Termination of Settlement - If the Settlement is terminated as provided for in

    the Stipulation or the Effective Date of the Settlement does not occur for any other reason, this

    Judgment shall be vacated, rendered null and void and be of no further force and effect, except as

    stated in the Stipulation, and this Judgment shall be without prejudice to the rights of the Parties,

    and the Parties shall revert to their respective positions in the Action as of July 2, 2018.

            16.    Entry of Final Judgment          There is no just reason to delay the entry of this

    Judgment as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly

    directed to immediately enter this final Judgment in this Action.




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     SO ORDERED this
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